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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

JEAN THREATT,                     :
          Petitioner,             :
                                  :     Crim. No. 3:02CR95 (AHN)
v.                                :     Civ. No. 3:03CV1818 (AHN)
                                  :
UNITED STATES OF AMERICA,         :
          Respondent.             :


           RULING ON PETITION FOR WRIT OF HABEAS CORPUS
                   PURSUANT TO 28 U.S.C. § 2255

     Petitioner Jean Threatt (“Threatt”) seeks a writ of habeas

corpus pursuant to 28 U.S.C. § 2255, requesting that her April 1,

2003, conviction be vacated, set aside, and/or corrected.

Threatt waived indictment and pleaded guilty to possession of an

unspecified amount of crack cocaine, in violation of Title 21

U.S.C. §§ 841(a)(1).     She was sentenced to 120 months

imprisonment and 3 years supervised release.          She now challenges

her sentence on several grounds.       As set forth below, her

petition [dkt. # 305] is denied.

                               BACKGROUND

     Threatt was a member of a narcotics trafficking organization

that distributed crack cocaine in New Haven, Connecticut.              On

April 12, 2002, she was arrested at her home, where police

uncovered 84 grams of crack cocaine.         On January 2, 2003, Threatt

waived indictment and pleaded guilty to possession with intent to

distribute an unspecified amount of crack cocaine in violation of
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§ 841(a)(1).

     At sentencing, held on March 31, 2003, the court adopted the

presentence report, which stated that Threatt regularly purchased

and redistributed crack cocaine and found that, based on her

criminal history category of IV and offense level of 32, Threatt

had a sentencing guideline range of 151 to 188 months.            However,

because the court determined that the Sentencing Guidelines

overstated the seriousness of her criminal history, the court

granted Threatt’s motion for a downward departure and sentenced

her to 121-months imprisonment and 3 years supervised release.

Threatt did not file an appeal and her conviction became final on

April 10, 2003.   See Clay v. United States, 537 U.S. 522, 525 &

527 (2003) (conviction becomes final, inter alia, when the time

to file an appeal expires); Fed. R. App. P. 4(b).            She timely

filed the present § 2255 habeas petition on October 22, 2003.

                              DISCUSSION

     Threatt now seeks collateral relief pursuant to § 2255 on

the grounds that the court: (1) did not properly sentence her

under § 841(b)(1)(C); (2) erred in not departing downward based

on her alleged diminished capacity; (3) erred in not departing

downward based on her alleged minor/minimal role; and (4) should

now reduce her sentence based on her post-conviction

rehabilitation.   The government submits that Threatt’s petition

should be denied because it is both procedurally barred and



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without merit.     The court agrees.

I.    Procedural Bar

      The government contends that the court should summarily deny

Threatt’s petition because she did not file an appeal on direct

review.    “A motion under § 2255 is not a substitute for an

appeal,” United States v. Munoz, 143 F.3d 632, 637 (2d Cir.

1998), and a petitioner procedurally defaults on “a claim by

failing to raise it on direct review . . .,” Bousley v. United

States, 523 U.S. 614, 622 (1998), unless he can show “that there

was cause for failing to raise the issue, and prejudice resulting

therefrom,” or actual innocence.         United States v. Pipitone, 67

F.3d 34, 38 (2d Cir. 1995) (citation and quotations omitted).

Here, as the government correctly points out, Threatt does not

allege, much less demonstrate, either “cause” or “prejudice” and

she does not claim actual innocence.          Accordingly, Threatt’s

petition is procedurally barred and must be denied.

II.   Merits of Threatt’s Claims

      Nonetheless, Threatt would not be entitled to habeas relief

even if the court considered her petition on the merits.               In

particular, her claim that the court did not properly sentence

her under § 841(b)(1)(C) is baseless.          Although neither the

indictment nor the plea agreement specified the quantity of crack

cocaine involved, the court adopted the presentence report’s

findings that Threatt regularly purchased and redistributed crack



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cocaine and that 84 grams of crack cocaine were found at her

residence.   Because § 841(b)(1)(C) applies to violations, like

the one at issue here, where the drug quantity is unspecified,

and because the 120-month sentence imposed in this case was

within the 20-year maximum term of imprisonment permitted by that

statute, no error occurred.     See 21 U.S.C. § 841(b)(1)(C) (“[i]n

the case of a controlled substance in schedule I or II . . . [a]

person shall be sentenced to a term of imprisonment of not more

than 20 years”); United States v. Luciano, 311 F.3d 146, 150 (2d

Cir. 2002) (stating that § 841(b)(1)(C) applies to crimes

involving indeterminate drug quantities).

     Equally unavailing is Threatt’s claim that the court erred

because it did not downwardly depart on the basis of her alleged

diminished capacity.    “A district court's refusal to

grant a downward departure generally is not appealable. . .

[except] for ‘cases in which the sentencing judge mistakenly

believes that he or she lacks the authority to grant a given

departure.’”   United States v. Silleg, 311 F.3d 557, 561 (2d Cir.

2002) (citations and quotations omitted).        Here, there is no

indication in the record that Threatt moved for a downward

departure on the grounds of diminished capacity.             Nevertheless,

even if she did move for a departure on that basis, Threatt does

not demonstrate that the court denied her motion because it

believed it lacked the authority to do so.        See id. (stating



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presumption that district court understands extent of its

sentencing authority is overcome only where the record provides

clear evidence of substantial risk that court misapprehended the

scope of its departure authority).      Accordingly, Threatt is not

entitled to relief on this basis either.

     Similarly, Threatt is not entitled to habeas relief on the

ground that the court did not reduce her sentence for her minor

role in the crime to which she pleaded guilty.          Under the

sentencing law then in effect, a court could grant a downward

adjustment in a defendant’s applicable offense level if it found

that the defendant was substantially less culpable than the

average participant in the relevant criminal activity.            See

United States v. Garcia, 920 F.2d 153, 155 (2d Cir. 1990).              In

this case, Threatt does not demonstrate that she was

“substantially less culpable” of the crime for which she was

convicted.   To the contrary, the facts adopted by the court at

sentencing negate that conclusion.      In particular, the court

found that Threatt regularly purchased and redistributed crack

cocaine and that 84-grams of crack cocaine were recovered at her

residence.   Absent evidence of other mitigating factors, there is

nothing that shows Threatt had a minor role in the offense and

that she is now entitled to habeas relief.        See Graziano v.

United States, 83 F.3d 587, 590 (2d Cir. 1996) (holding court’s

errors in applying the Sentencing Guidelines do not entitle a



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petitioner to relief without additional showing that a complete

miscarriage of justice resulted).      Accordingly,

her petition is denied on this basis as well.

     Finally, Threatt’s habeas petition fails to the extent she

claims that she is entitled to relief for her post-conviction

rehabilitation.   In particular, Threatt submits that she has been

enrolled in rehabilitation classes in prison since May 2003.

Although these are laudable efforts, they are not a proper basis

for granting habeas relief.     See id. at 589-90 (stating that

§ 2255 relief is generally available “only for a constitutional

error, a lack of jurisdiction in the sentencing court, or an

error of law or fact that . . . results in complete miscarriage

of justice”) (quoting United States v. Bokun, 73 F.3d 8, 12 (2d

Cir. 1995)).   Threatt’s petition for relief is therefore denied.

                              CONCLUSION

     For the foregoing reasons, Threatt’s petition for a writ of

habeas corpus [dkt. # 305] is DENIED.       Because Threatt fails to

make a substantial showing of the denial of a constitutional

right, a certificate of appealability shall not issue.            See 28

U.S.C. § 2253(a)(2).

     So ordered this ___ day of August, 2005, at Bridgeport,

Connecticut.



                                 Alan H. Nevas
                                 United States District Judge


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